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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK


BLACK LOVE RESISTS IN THE RUST, et al.,
individually and on behalf of a class of all others
similarly situated,

                       Plaintiffs,                    No. 1:18-cv-00719-CCR

       v.

CITY OF BUFFALO, N.Y., et al.,

                       Defendants.



            PLAINTIFFS’ REPLY IN SUPPORT OF CLASS CERTIFICATION
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                                       INTRODUCTION

       Plaintiffs brought this class action lawsuit to hold the City of Buffalo accountable for

longstanding racially discriminatory traffic enforcement practices that have deeply injured Black

and Latino communities. Plaintiffs identified two specific municipal policies and practices that

inflicted severe economic and dignitary harms on Black and Latino motorists—the Checkpoint

Policy and multiple Tinted Windows ticketing—and seek class-wide redress, pursuant to Rule

23(b)(3), for the damage these municipal policies and practices caused. Plaintiffs further allege

that BPD officers continue today to engage in racially discriminatory traffic enforcement, and the

City is deliberately indifferent to this harm. To redress ongoing and future discrimination,

Plaintiffs seek injunctive relief pursuant to Rule 23(b)(2) to reform BPD’s traffic enforcement

practices. Given their tight focus on harms caused by specific municipal policies, Plaintiffs claims

satisfy every element of Rule 23 and therefore warrant class certification.

       The City grounds its opposition in a series of false narratives that this Court should reject.

First, the City invokes the dreaded specter of “mini-trials,” which it asserts are necessary to

determine the validity of each and every traffic stop. No mini-trials are necessary in this case.

Plaintiffs can prevail on their Fourth Amendment, Equal Protection, Due Process, and Title VI

class claims regardless of the validity of the individual stops because they stem from a unitary

policy and practice. And because Plaintiffs need not and will not seek to prove that the underlying

stops of Checkpoint and Tinted Windows class members lacked adequate individual justification,

the City will have no occasion to raise its threatened “Townes defense.”

       Next, the City insists that determining damages will involve too many individualized

questions. The City conveniently ignores that the bulk of the damages Plaintiff seek are either

general damages—which are particularly appropriate for class-wide adjudication because class

members need not individually plead and prove them—or compensatory damages for fines and
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fees extracted from class members, the exact amounts of which are stored for each individual in

the City’s own records. This level of individualized recovery is commonplace in nearly every b(3)

action and certainly not a basis to deny certification.

       Undergirding the City’s brief is a series of blatantly improper merits arguments, under

which the City attempts to convince the Court to deny class certification because it has allegedly

done nothing wrong. Under binding Supreme Court precedent, however, this Court may consider

the merits only insofar as necessary to resolve whether Plaintiffs have met the elements of Rule

23. Amgen Inc. v. Conn. Ret. Plans & Tr. Funds, 568 U.S. 455, 465–66 (2013). Here, the City’s

evidence demonstrates only what Plaintiffs have argued all along: policing in the City of Buffalo

occurs pursuant to municipal policies and widespread practices established and condoned by the

City’s highest policymakers. The question whether such policies and practices are discriminatory

or otherwise unlawful is efficiently and appropriately resolved in a single action on behalf of every

single individual harmed by the specific policies and practices at issue.

       As for the injunctive class, the City utterly fails to rebut Plaintiffs’ showing that the

proposed Traffic Enforcement Class meets all the elements of Rule 23(a) and (b)(2). The City

instead raises two implausible defenses: that the class lacks standing and an injunction would be

unworkable (Opp’n at 37-41). The City’s arguments lack merit and directly conflict with

established precedent. This Court should grant Plaintiffs’ motion for class certification in all

respects.

I.     THE CITY GROSSLY MISREPRESENTS PLAINTIFFS’ DAMAGES CLAIMS

       The City devotes much of its brief, including an entire section called “Merits-Based

Considerations,” to mischaracterizing Plaintiffs’ damages claims and the relief sought in a




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misguided effort to compensate for the weakness of its positions on the Rule 23 factors.1 Here,

Plaintiffs set the record straight.

        A.       Plaintiffs’ Fourth Amendment Damages Claims Challenge Unlawful
                 Detentions, Not Tickets and Impounds

        The City mischaracterizes Plaintiffs’ Fourth Amendment claims as attempting to challenge

tickets and impounds at Checkpoints. This is false.

        Checkpoint Class members claim that the City violated their Fourth Amendment rights by

subjecting them—as a matter of municipal policy and practice—to unlawful detentions at

Checkpoints, without individualized suspicion, in violation of City of Indianapolis v. Edmond, 531

U.S. 32 (2000). See Opening Br. at 36. The City’s reliance on Di Pompo v Mendelson, 2022 WL

463317, at *2 (S.D.N.Y. Feb. 15, 2022), fails because Plaintiffs’ Fourth Amendment claims are not

premised on the issuance of tickets or impounds. Di Pompo actually supports Plaintiffs’ claims

by allowing a Fourth Amendment claim based on the initiation of a traffic stop without reasonable

suspicion. Id.

        Likewise, Townes v. City of New York, 176 F.3d 138, 148 (2d Cir. 1999), unequivocally

supports Plaintiffs’ claims by establishing as a matter of law that “[v]ictims of unreasonable

searches or seizures may recover damages directly related to the invasion of their privacy”—which

is what Plaintiffs seek in this case for violations of their Fourth Amendment rights. Members of

the Checkpoint Class suffered unlawful detentions at Checkpoints prior to their ticketing or arrest,

and Townes makes clear they may recover for this harm.2 Plaintiffs do not seek class-wide

damages for traffic tickets, arrests, and vehicle impoundments under the Fourth Amendment.


1
  See Appendix A for a table summarizing, for each Class, the claims brought and relief sought.
2
  In Townes, the plaintiff disclaimed any damages from the initial invasion of privacy and instead
sought damages only for his arrest, prosecution, and incarceration. Id. at 149. The Second Circuit
rejected his claims for post-arrest damages, ruling that the intervening, independent actions of the
(continued…)
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       B.      Plaintiffs Need Not Establish That Tickets Were Unjustified to Prevail on
               Their Equal Protection and Title VI Claims3

       The City errs in assuming that resolution of the Equal Protection and Title VI damages

claims turns on a judicial determination of the propriety of individual stops (Opp’n at 13). Each

class will ask the jury to determine whether a specific municipal policy or practice—the

Checkpoint Policy for the Checkpoint Class and the targeting of Black and Latino motorists for

multiple tinted windows tickets for the Tinted Windows Class—was motivated at least in part by

race. See Vill. of Arlington Heights v. Metro. Hous. Dev. Corp., 429 U.S. 252, 266–67 (1977).

Answering this question does not require particularized factfinding at a stop-by-stop level.

       Under the common-law tort principles that underlie § 1983 causation, defendants “are

responsible for the natural consequences of their actions.” Malley v. Briggs, 475 U.S. 335, 344 n.7

(1986); Warner v. Orange Cnty. Dep’t of Probation, 115 F.3d 1068, 1071 (2d Cir. 1996). Therefore,

if the Checkpoint Class succeeds in establishing that the City targeted Checkpoints specifically at

Black and Latinx communities, at least in part because of the racial demographics of those

communities, the City will be liable for the foreseeable consequences that follow. Given that the

BPD’s written policies directed officers operating Checkpoints to evaluate each car methodically

for violations of the Vehicle and Traffic Law and issue tickets for all possible violations, ECF 205-

0—and eliminated officer discretion to do otherwise, ECF 203-9 at 23—tickets and impounds are

obviously foreseeable harms of the Checkpoint Policy. The intent of the individual officers

operating Checkpoints need not be adjudicated because the harm flows directly from the




prosecutor and the judge broke the chain of causation, and the arrest itself was based on probable
cause. Id. at 147-49. But that does not mean that damages for unlawful detention prior to arrest
are never available, only that Mr. Townes did not ask for them.
3
  The Equal Protection and Title VI claims are essentially identical.

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discriminatory policy.4 Amnesty Am. v. Town of W. Hartford, 361 F.3d 113, 125 (2d Cir. 2004)

(municipal liability arises when employee enforces an unconstitutional policy).

       Similarly, the Tinted Windows Class alleges and will prove at trial that the BPD had a

widespread practice of issuing multiple tinted windows tickets in a single stop specifically to Black

and Latino drivers and that the City’s highest policymakers allowed these practices to continue

unabated, ratifying the practice. Under Plaintiffs’ theory, the City’s intentional failure to act to

prevent discriminatory harm caused officers to continue engaging in racially discriminatory tinted

windows ticketing. The tickets that ensued from the racially discriminatory policy are thus

recoverable as damages regardless of the intent of the individual officer who issued them. See id.

       If the jury finds that the City’s Checkpoint and multiple tinted windows ticketing policies

were motivated at least in part by race, it will be no defense that the tickets and arrests were

justified. The Supreme Court has established that a racially-motivated traffic stop is still unlawful,

even if supported by probable cause. Whren v. U.S., 517 U.S. 806, 813 (1996) (“[T]he Constitution

prohibits selective enforcement of the law based on considerations such as race.”); see also Floyd

v. City of New York, 959 F. Supp. 2d 540, 666–67 (S.D.N.Y. 2013) (the success of an Equal

Protection claim does not turn on proving that stops of Black and Latino motorists “are

suspicionless”). Applying the same logic, a ticket issued pursuant to a racially discriminatory

policy is still unlawful even if supported by probable cause.




4
  If the individual officer acted with discriminatory intent when issuing multiple tinted windows
tickets at a particular stop, that would constitute an independent violation of the Equal Protection
Clause. But Plaintiffs need not establish discriminatory intent at the individual officer level if they
can show that the municipal policy itself was discriminatory and caused them injury.

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        C.      Plaintiffs’ Structural Due Process Claims Do Not Require Individualized
                Inquiry

        Despite the discussion in Plaintiffs’ Opening Brief clearly grounding the Due Process claim

in the Supreme Court’s conflict-of-interest jurisprudence (Opening Br. at 38-39), the City pretends

that Plaintiffs bring a standard procedural due process claim. Not so. Plaintiffs do not dispute the

adequacy of procedural protections provided by New York law, nor do they claim that the BTVA’s

procedures for adjudicating traffic tickets violate due process. Adjudicating Plaintiffs’ due process

claims will not require the Court to determine whether individual class members received adequate

process. Torres v. City of New York, 590 F. Supp. 3d 610 (S.D.N.Y. 2022), discussed on pages 13–

14 of the City’s brief, is thus irrelevant to Plaintiffs’ claims.

        As the Opening Brief describes (Opening Br. at 39), Plaintiffs will prove at trial that the

City created a constitutionally intolerable ticketing incentive by tying production expectations to

overtime opportunities, which incentivized officers to earn more money by issuing more tickets.5

Under the incentive scheme, officers understood that they should issue tickets and impound

vehicles in order to justify and receive overtime opportunities—which directly boosted their

salaries and pension benefits. Such schemes pose structural violations of the Due Process Clause

and are appropriate for class treatment because the same structural defect applies to each class

member: the system itself is biased. Should members of the Checkpoint or Tinted Windows class

prevail on their Due Process claims, they will be entitled to recover damages for the tickets and

impounds issued under the defective policy. Cf. Coleman v. Town of Brookside, Ala., 663 F. Supp.

3d 1261, 1270, 1277 (N.D. Ala. 2023) (denying motion to dismiss class claims based on structural

due process violation).



5
  The City’s brief bizarrely and incorrectly describes the overtime and BTVA evidence as
supporting only the Title VI claim.

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II.    THE CITY FAILED TO REBUT PLAINTIFFS’ SHOWING THAT THE
       PROPOSED CLASSES SATISFY RULE 23(a)

       The City concedes that the Traffic Enforcement Class satisfies all requirements of Rule

23(a) and all Classes satisfy numerosity.6 The City argues that the Checkpoint and Tinted Windows

Classes fail to meet the commonality, typicality, and adequacy requirements and that the

Checkpoint class is not ascertainable. The City’s brief demonstrates a lack of familiarity with core

class action principles, fails to engage with the case law Plaintiffs cited, and relies on blatant

mischaracterizations of Plaintiffs’ claims.

       A.      The Proposed Classes Satisfy Commonality

       The City properly asserts that “there must be common answers to questions that are capable

of classwide resolution” (Opp’n at 19), but then refuses to address the abundance of common

questions posed in the Opening Brief ( Opening Br. at 25-27). Plaintiffs listed 11 such questions

for the Checkpoint Class and eight for the Tinted Windows Class. The City does not explain why

these questions do not pass muster. Nor could they. Each of the questions Plaintiffs posed “will

resolve an issue that is central to the validity of each one of the claims in one stroke.” Wal-Mart

Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). For example, one common question for both

Classes is whether the specific municipal policy or practice at issue was motivated by race.

Clearly, these are central questions for the Equal Protection claims: if answered in Plaintiffs’ favor,

all class members are one step closer to winning, but if answered in the City’s favor, all class

members will lose unless they can establish deliberate indifference to racial discrimination. All of

the 19 questions Plaintiffs posed go to the heart of their claims in this way.




6
  Having failed to raise any objections, the City has waived the right to do so at a later stage. See
e.g., Mendez v. The Radec Corp., 260 F.R.D. 38, 44 (W.D.N.Y. 2009).

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       Though unclear, the City appears to be making a misplaced analogy to Wal-Mart itself, in

which commonality was lacking. Wal-Mart, one of the largest class actions ever certified, was a

nationwide class action challenging “literally millions of employment decisions,” each made by

tens of thousands of individual managers who operated independently, without any central

governing policy. Id. at 342–43, 352. That is a far cry from this case, in which each proposed

Class challenges one specific policy or practice of a single police department.

       In Floyd v. City of New York, 283 F.R.D. 153, 173 (S.D.N.Y. 2012), and many other cases,

district courts have rejected the same argument the City makes here. Floyd distinguished Wal-

Mart because NYC had “a single stop and frisk program,” under which officers “are required to

use the tactic as a central part of the Department’s pro-active policing [policy].” Id. The same

logic applies to the Checkpoint policy.

       Floyd also observed: “Since Wal-Mart, at least three district courts have granted class

certification in cases alleging Fourth and Fourteenth Amendment violations due to a police

department’s policy and/or practice of making unlawful stops and arrests; all of these courts have

rejected the notion that the individual circumstances of a stop defeat commonality.” Id. at 173-74

(citing Stinson v. City of New York, 282 F.R.D. 360 (S.D.N.Y. 2012); Morrow v. Washington, 277

F.R.D. 172 (E.D. Tex. 2011); Aguilar v. Immigr. and Customs Enf’t Div. of U.S. Dep’t of Homeland

Sec., 2012 WL 1344417 (S.D.N.Y. Apr. 16, 2012)). And while the City attempts to rely on

Plaintiffs # 1-21 v. County of Suffolk, 2021 WL 1255011 (E.D.N.Y. Mar. 12, 2021), the court in

that case also found commonality satisfied—not because it “assumed” commonality, as the City

wrongly asserts (Opp’n at 23), but because the “questions are similar to the common questions

presented in other unlawful stop cases that Courts certified to proceed as class actions.” County

of Suffolk, 2021 WL 1255011, at *13 & n.45 (citing Floyd, 283 F.R.D. at 174 n.138; Davis v. City



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of New York, 296 F.R.D. 158, 166 n.50 (S.D.N.Y. 2013); Ligon v. City of New York, 288 F.R.D. 72,

82 (S.D.N.Y. 2013); Daniels v. City of New York, 198 F.R.D. 409, 417 (S.D.N.Y. 2001)). Plaintiffs

cited all of these cases in their Opening Brief (Opening Br. at 28), but the City fails to distinguish

Plaintiffs’ cases and makes no effort to explain why commonality would be present in those cases

but absent here under nearly identical circumstances.

         The bulk of the City’s argument (Opp’n at 20-27) boils down to a complaint that

individualized damages preclude certification—which is not properly part of the commonality

analysis at all.7 “Because commonality does not mean that all issues must be identical as to each

member, the need for an individualized determination of damages suffered by each class member

generally does not defeat the requirement.” Whitehorn v. Wolfgang’s Steakhouse, Inc., 275 F.R.D.

193, 199 (S.D.N.Y. 2011). And because “even a single common question will do,” Wal-Mart, 564

U.S. at 359, Plaintiffs more than satisfy the commonality requirement for all proposed Classes.

         B.      The Proposed Classes Satisfy Typicality

         The City argues that the proposed class representatives are not typical because they claim

to have unique defenses as to some class members that do not apply to all (Opp’n at 27-28). In

support of this proposition, the City cites Jensen v. Cablevision Systems Corp., 372 F. Supp. 3d 95,

122 (E.D.N.Y. 2019), in which the class representative had opted out of a mandatory arbitration

agreement that bound nearly all class members, and In re LIBOR-Based Financial Instruments

Antitrust Litig., 299 F. Supp. 3d 430, 461 (S.D.N.Y. 2018), which cautions: “the court should not

disqualify a named plaintiff based upon any groundless, far-fetched defense that the defendant

manages to articulate.”




7
    Plaintiffs address damages in their discussion of predominance under Rule 23(b)(3).

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        Here, the City asserts only “groundless, far-fetched” defenses, based on a fundamental

misapprehension of Plaintiffs’ claims. For example, the City asserts as possible unique defenses

“the inability for the Proposed Checkpoint Class to recover under the Fourth Amendment for

tickets given at Checkpoints” and the “Townes defense” which it plans to use against “all class

members whose tickets and arrests were validly issued and made, respectively” (Opp’n at 28).

None of these defenses apply, however, because Plaintiffs’ claims do not turn on proving that

individual tickets and arrests were invalid. See Part I. Additionally, Plaintiffs do not seek damages

under the Fourth Amendment for tickets and arrests at Checkpoints. Plaintiffs seek Fourth

Amendment damages only for unlawful detention prior to arrest and ticketing, and the City has

not identified any unique defenses to that claim. Nor do any exist.

        C.      The Proposed Classes Satisfy Adequacy

        The City’s adequacy argument echoes its typicality argument, and it fails for the same

reasons. The City does not question the adequacy of Plaintiffs’ counsel, but rather attacks the

proposed class representatives as deserving of their tickets and therefore barred from seeking

damages that other class members could seek. The City raises the specter of “mini-trials to

determine the validity of their tickets and/or arrests” and accuses Plaintiffs of seeking to “re-litigate

the dispositions of traffic tickets adjudicated in the New York court system or by the BTVA”

(Opp’n at 31). Plaintiffs seek no such thing.

        This Court should not concern itself with this parade of horrors. As previously explained,

Plaintiffs do not bring Fourth Amendment claims for unlawful tickets or arrests, nor do their Equal

Protection, Title VI, or Due Process claims turn on the validity of tickets and impounds leveled

against them. Class representatives and class members are entitled to the same categories of

damages (though amounts may differ, as discussed below). There is no conflict of interest between

class representatives and members.
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       D.      The Proposed Classes Are Ascertainable

       The City attacks only the Checkpoint Class as lacking ascertainability (Opp’n at 32-35),

conceding that the Tinted Windows and Traffic Enforcement classes are ascertainable. The City’s

ascertainability discussion contains numerous egregious errors of law.

       First, the City cites the wrong legal standard. In the Second Circuit, ascertainability begins

and ends with the class definition: “The ascertainability doctrine that governs in this Circuit

requires only that a class be defined using objective criteria that establish a membership with

definite boundaries.” In re Petrobras Sec., 862 F.3d 250, 264 (2d Cir. 2017).

       The proposed class definition for the Checkpoint Class meets this standard. The definition

is: “All individuals who received a ticket or were arrested at a BPD ‘traffic safety’ vehicle

checkpoint on or after June 28, 2015.” (Opening Br. at 3). The definition is objective. The class

is defined as all individuals who experienced a certain action, at a certain location, during a certain

period of time. See Petrobras, 862 F.3d at 269 (“securities purchases identified by subject matter,

timing, and location” are “clearly objective” and “sufficiently definite”). This Court will have no

problem determining the boundaries of the class: any given individual either received a ticket or

was arrested at a Checkpoint during the specified time frame, or not. Further, while the City does

not specifically contest the ascertainability of the other two Classes, all three class definitions rely

on similarly objective and definite criteria.

       The City refuses to engage with the actual class definitions Plaintiffs have proposed,

perhaps because the City knows they work. The City argues instead that “only members issued

invalid tickets and arrested improperly are appropriate members of the classes.” (Opp’n at 32).

To the contrary, the “appropriate” members of the classes are those who fit the definitions, and

Plaintiffs’ proposed class definitions do not require the Court to determine the validity of tickets



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and arrests. (Nor do Plaintiffs’ substantive claims.) This Court should reject the City’s attempt to

rewrite Plaintiffs’ class definitions.

        The Checkpoint Class definition is not overbroad. The Checkpoint Class alleges and will

prove at trial that all Checkpoints violated the Fourth Amendment because they were operated

primarily for improper law enforcement purposes or failed to meet the special needs exception,

and that all Checkpoints violated the Equal Protection Clause and Title VI because the City’s

choice of checkpoint locations was motivated at least in part by the racial demographics of

Buffalo’s segregated neighborhoods. Every class member has the same claim; every class member

suffered the same injury. This case is thus very different from M.G. v. New York City Department

of Education, 162 F. Supp. 3d 216, 238 (S.D.N.Y. 2016), in which a proposed subclass would have

contained disabled students who lost services from their IEPs for any reason, not exclusively

because of the policy challenged in the lawsuit.8 Whereas the proposed class in M.G. would have

contained many individuals whose injuries did not flow from the challenged policy but from other,

independent sources, the proposed Checkpoint Class consists entirely of people subjected to the

BPD’s unlawful and discriminatory Checkpoint program.

        The City criticizes Plaintiffs’ choice to include as class members only those individuals

ticketed or arrested at Checkpoints, rather than all people who passed through Checkpoints (Opp’n

at 11). Constraining the class in this way reflects an appropriate narrowing to ensure that the

Checkpoint class contains only individuals who (a) can be identified via City and court records;

and (b) experienced more than de minimis harm. People who passed through Checkpoints without



8
  M.G. was decided before Petrobras, and though M.G. characterized the overbroad subclass as
“unascertainable,” the court’s use of the word is not consistent with the narrowed construction set
forth in Petrobras. An overbroad class definition raises questions of standing and predominance,
not ascertainability. Regardless, in this case Plaintiffs’ proposed class definitions are not
overbroad.

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ticket or arrest experienced violations of their Fourth and Fourteenth Amendment rights, but their

detentions were comparatively minimal and without economic consequence. In contrast, those

ticketed or arrested at Checkpoints suffered unlawful detentions of up to an hour prior to the ticket

or arrest.   A detention of that length constitutes a substantial invasion of privacy that is

compensable under the Fourth Amendment. Moreover, under the Fourteenth Amendment and Title

VI, these same individuals are entitled to recover financial compensation for unlawful tickets and

impounds. Plaintiffs’ proposed Checkpoint class definition thus includes all people who suffered

compensable harm at Checkpoints—and nobody who did not.

        The City’s remaining arguments against the ascertainability of the Checkpoint Class pertain

to the mechanics of class member identification. Under Petrobras, 862 F.3d at 269 & n.20, this

Court may not consider this practical challenge as part of the ascertainability analysis, but rather

as part of the balancing inquiry required under Rule 23(b)(3).

III.    THE DAMAGES CLASSES SATISFY PREDOMINANCE UNDER RULE 23(b)(3)

        The City has advanced two main theories against class certification: First, that each traffic

stop presents its own unique circumstances, and second, that individualized damages predominate.

Neither argument prevails under the circumstances of this case. Here, as explained in Part II.A,

the City’s liability is a common question. Damages, too, are either common or a matter of

mechanical extraction from the City’s own records. Under such circumstances, common questions

predominate.

        A.     Because Plaintiffs Allege Harm Caused by Municipal Policy and Practice, the
               City’s Liability Is Necessarily a Common Question

        “When plaintiffs are allegedly aggrieved by a single policy of defendants, the case presents

precisely the type of situation for which the class action device is suited since many nearly identical

litigations can be adjudicated in unison.” Umbrino v. L.A.R.E. Partners Network, Inc., 585 F.


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Supp. 3d 335, 361 (W.D.N.Y. 2022). In this case, the Checkpoint and Tinted Windows class

members seek redress for harms caused by specific municipal policies and practices. Thus, “the

predominant issue here turns not on the circumstances of particular” stops but on “the existence of

a policy or practice . . . whether or not individualized probable cause existed.” MacNamara v. City

of New York, 275 F.R.D. 125, 146 (S.D.N.Y. 2011). As in Brown v. Kelly, 244 F.R.D. 222, 237-38

(S.D.N.Y. 2007), aff’d 609 F.3d 467 (2d Cir. 2010), and In re: Nassau County Strip Search Cases,

461 F.3d 219, 228 (2d Cir. 2006), core Monell questions, such as whether the City (1) maintained

unconstitutional policies that (2) caused injury to Checkpoint and Tinted Window class members,

predominate. The City’s position that Plaintiffs have “no common questions” (Opp’n at 36) lacks

all credibility.

        Townes does not create individual defenses because that case applies only to claims

Plaintiffs do not bring (classwide Fourth Amendment challenges to issuance of tickets and

impounds) and bars only damages Plaintiffs do not seek. See Part 1.A. Townes does not provide

a defense to the Equal Protection claims, which are actionable regardless of whether the tickets of

individual class members are supported by probable cause. See Part 1.B.

        The City criticizes the expert report of Michael Gennaco as comprised of “countless

individual inquiries” (Opp’n at 24). But Gennaco offered the anecdotes, not as examples of

potentially harmed class members (many IAD complainants do not fall within the Checkpoint or

Tinted Windows class definitions), but to explain the basis for his overarching opinion that the

BPD’s accountability procedures and practices, including the operation of Internal Affairs

Department, fall far below industry standards to the point that the BPD is incapable of identifying

and addressing racial discrimination.     See generally ECF 203-2.       Gennaco’s testimony is

persuasive evidence of the City’s past and continuing deliberate indifference to racial



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discrimination—and every single class member can rely on his testimony. Gennaco’s report thus

supports, not undermines, commonality and predominance. Tyson Foods Inc. v. Bouaphakeo¸ 577

U.S. 442, 454–60 (2016) (expert testimony supported predominance finding where all class

members could rely on it in the same way).

       B.      Claims for General Damages Are Inherently Common

       The City’s discussion of general damages (Opp’n at 24-27) demonstrates a fundamental

misunderstanding of the concept. The City primarily appears to argue that because liability cannot

be determined on a classwide basis, general damages would also be inappropriate. “General

damages” is not a synonym for “class damages,” however, but rather a specific category of

damages that courts have authorized for certain constitutional violations. General damages are

awarded when the constitutional violation indisputably causes harm, but the harm is nonspecific

and difficult to quantify. Under Second Circuit precedent, even an individual plaintiff may be

entitled to general damages, depending on the nature of the constitutional injury.

       In Kerman v City of New York, 374 F.3d 93, 125 (2d Cir. 2004), the Second Circuit held in

an individual case that “general damages” are available for unlawful detentions that violate the

Fourth Amendment, like those experienced by members of the Checkpoint Class. As the Second

Circuit explained, once the defendant is found to have caused an unlawful deprivation of liberty,

“the plaintiff is entitled to an award of compensatory damages as a matter of law.” Id. at 124. The

tort “is complete with even a brief restraint of the plaintiff’s freedom,” and “it is not necessary that

any damage result from it other than the confinement itself.” Id. at 125 (quoting William Prosser

& W. Page Keeton, The Law of Torts § 11, at 48 (5th ed. 1984)). General damages are thus

“inseparable from” the confinement itself while “separable from damages recoverable for such

injuries as physical harm, embarrassment, or emotional suffering.” Id. at 125–26.



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       Should members of the Checkpoint and Tinted Windows Classes establish a class-wide

violation of the Equal Protection Clause, they will likewise seek general damages for the dignitary

harm of being subjected to racial discrimination. Like unlawful deprivations of liberty under the

Fourth Amendment, the personal degradation caused by an Equal Protection violation is

inseparable from the violation itself and need not be specifically pleaded and proved.

       Because general damages are “inseparable from” the constitutional violation itself and need

not be specifically pleaded and proven, id. at 125, they are particularly appropriate for class

administration. In their Opening Brief (Opening Br. at 55-56), Plaintiffs cited a series of cases in

which courts approved general damages in class actions, including In re Nassau County Strip

Search Cases, 2009 WL 706252, at *2-3 (E.D.N.Y. Mar. 16 2009); Dellums v. Powell, 566 F.2d

167, 174 n.6 (D.C. Cir. 1977); Barnes v. District of Columbia, 278 F.R.D. 14, 20-21 (D.C. Cir.

2011); and Betances v. Fischer, 2022 WL 765963, at *11-12 (S.D.N.Y. Mar. 14, 2022). Plaintiffs

cited these cases to demonstrate that district courts have awarded general damages in a class

context and to illustrate the various methodological approaches courts have applied to help the

jury determine the amount of general damages to award, which must be based solely on the

inherent gravity of the constitutional harm and not the unique impact of that harm on each

individual class member.9 While the precise methodology to be applied in this case is an

appropriate subject for the Rule 16 pretrial conference, the cases cited offer several reasonable

approaches.

       Finally, the recent decertification of Betances v. Fischer, -- F.3d --, 2023 WL 8699001

(S.D.N.Y. Dec. 15, 2023) (“Betances VII”), does not undermine Plaintiffs’ entitlement to general



9
  Defendants dispute the applicability of these cases, citing their familiar refrain that establishing
liability in this case depends on too many individualized considerations. Plaintiffs have already
demolished this argument.

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damages. Betances VII did not hold that a need for individualized inquiries “precluded general

damages,” as the City argues (Opp’n at 26). To the contrary, Betances VII recognized class

members’ continuing entitlement to general damages for “the inherent value of a day of lost

liberty,” which it characterized as a “common issue.” Id. at *22. Betances was decertified because

an intervening Second Circuit decision, Vincent v. Annucci, 63 F. 4th 145 (2d Cir. 2023),

established that each class member had substantial individual damages in addition to general

damages, and that assessing such damages (including the compensable length of each person’s

unlawful detention) involved complex individual inquiries. Betances VII at *22–23. Therefore,

while the Betances court noted that it could “[i]n theory” hold a class trial on general damages, the

fact that other categories of damages required individual trials meant that common questions of

damages no longer predominated over individual ones. Id.

       In this case, unlike in Betances, the balance is different and favors certification. As

discussed below, while Checkpoint and Tinted Windows class members have some individualized

damages resulting from different assessments of tickets and impound fees, the economic harm to

each class member is recorded in the City’s records. Calculating the amount of each person’s

economic harm is straightforward and does not involve the same complex factual determinations

as Betances required post-Vincent. Furthermore, Betances specifically acknowledged that, despite

subsequent decertification in the damages phase, “there is no doubt that the common policy and

failures to act that lie at the heart of Defendants’ liability were best addressed by proceeding as a

class.” Betances VII at *24. Betances VII thus reaffirms the correctness of the court’s original

decision to certify the class and supports certification here.

       C.      Damages for Tickets and Impounds Are Individualized, but They Do Not
               Defeat Predominance Because They Are Easily Calculated




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       Plaintiffs readily recognize they may be entitled to individual damages. Specifically, if

Checkpoint and/or Tinted Windows Class members prevail on their Equal Protection, Title VI,

and/or Due Process claims, Class members will be entitled to recover for economic harms

including ticket and impound debt. (If the City disputes Plaintiffs’ entitlement to this category of

damages, that will pose yet another common question to weigh in favor of class certification.)

These types of straightforward individual damages are routinely handled in class actions

throughout this circuit, see In re Visa Check/MasterMoney Antitrust Litigation, 280 F.3d 123, 139

(2d Cir. 2001), and Plaintiffs cited at least seven relevant examples in their Opening Brief (Opening

Br. at 42-44). The City does not so much as mention any of Plaintiffs’ cases.

       Instead, the City relies on In re Terrorist Attacks on September 11, 2001, 2021 WL 640257

(S.D.N.Y. Jan. 22, 2021). In that case, damages were extremely complex, as one would expect

from the aftermath of a terrorist attack that caused mass casualties. Damages calculations included

“both economic and non-economic damages” based on “the deceased’s earnings capacity,” “the

relationship between the putative class member and the deceased,” and “offsets from collateral

source compensation, where permitted.” Id. at *8. Such a scenario clearly has little applicability

to the present case, in which individualized damages primarily consist of economic costs incurred

for traffic tickets and impounds—and the City admits that it has electronic records of such costs

that it can produce upon request. ECF 209-1; ECF 209-3.

       Likewise, the City’s invocation of County of Suffolk fails. There, the true barrier to class

certification was the thousands of individual liability determinations required just to establish class

membership, thanks to the inclusion of “unlawfully” as part of the class definition. 2021 WL

1255011, at *18. County of Suffolk did -
                                       not
                                         - hold that routine, mechanical damages calculations

predominate over common questions of liability.



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       D.      Other Individualized Damages Are Highly Unlikely to Arise in Significant
               Number, and the Court Has Tools to Manage Them

       Hypothetically, a few class members may seek to recover more substantial individual

damages, such as lost employment income, emotional distress, and the like. But Plaintiffs do not

currently know of any unnamed class members who wish to assert such damages.

       In Butler v. Suffolk County, 289 F.R.D. 80, 102 (E.D.N.Y. 2013), the court considered a

similar prospect. Recognizing that common questions included whether jail conditions were “cruel

or inhuman in violation of the Eighth and Fourteenth Amendments,” whether “Defendants were

deliberately indifferent to the conditions,” and “whether administrative remedies were

unavailable,” the court found that “these issues predominate over the issues subject to

individualized proof—namely the extent of each class members’ damages.” Id. Noting the

plethora of management tools available,10 the court had “the flexibility to deal with issues

regarding the management of this class action as they arise,” so that “individualized questions

regarding damages does not warrant denying certification.” Id. The same holds true here.

IV.    A CLASS ACTION IS SUPERIOR, AND PLAINTIFFS HAVE A SOUND
       METHODOLOGY FOR IDENTIFYING CHECKPOINT CLASS MEMBERS

       In their Opening Brief (Opening Br. at 53-57), Plaintiffs laid out a thorough case for the

superiority of the class mechanism over individual actions. The City failed to grapple with any of

the arguments Plaintiff raised, merely parroting its familiar refrain.

       As part of its ascertainability argument, however, the City denounced Plaintiffs’ methods

for identifying members of the Checkpoint class. The City’s criticisms are wildly overblown: for



10
   These include (1) bifurcating liability and damage trials with the same or different juries;
(2) appointing a magistrate judge or special master to preside over individual damage proceedings;
and (3) decertifying the class after the liability trial and providing notice to class members
concerning how they may proceed to prove damages in separate proceedings after the liability trial.
Visa Check/MasterMoney Antitrust Litig., 280 F.3d at 141; Brown, 609 F.3d at 486.

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example, the City argues that Plaintiffs “randomly” focused on time periods and geographic areas

to identify Class members (Opp’n at 33). To the contrary: Plaintiffs used the City’s own records

to pinpoint the time and location of each Checkpoint, and then searched electronic ticket data to

identify tickets issued at those times and locations. This is not a random process, but a surgical

method to cull from a database of all tickets only those highly likely to have been issued at a

Checkpoint. Plaintiffs can then match those tickets to individuals using City and State databases.

See generally ECF 210-0 (describing methodology).

       Over-inclusivity at the notice stage is not a problem. Macarz v. Transworld Sys., Inc., 193

F.R.D. 46, 61 (D. Conn. 2000) (ordering notice to a 25% overinclusive list). Rule 23(c)(2)(B) does

not require perfection.    Instead, it directs “the best notice that is practicable under the

circumstances, including individual notice to all members who can be identified through

reasonable effort.” Plaintiffs’ proposed procedure handily meets this test.

       To be sure, the Court must eventually ensure that damages are distributed only to class

members. But this final assurance is typically made much later in the litigation, at the proof of

claim stage. For example, in Macarz, the court certified a class comprised of all individuals in

Connecticut who had received a certain debt collection letter about a non-business debt—despite

the fact that the defendant’s records could not reliably distinguish between business and non-

business debts. In approving class certification, the court noted that “any disputes regarding

whether a particular class member's debt is consumer or commercial can be remedied through

proper drafting of the claim form, and at the damages phase of this case.” Id. at 57; see also

Langan v. Johnson & Johnson, Consumer Cos., 897 F.3d 88, 91 n.2 (2d Cir. 2018) (approving use

of sworn affidavits to establish when class members purchased baby oil); Cox v. Spirit Airlines,

Inc., 341 F.R.D. 349, 372-73 (E.D.N.Y. 2022), amended on reconsideration in part, 2023 WL



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1994201 (E.D.N.Y. Feb. 14, 2023) (using “sworn affidavits or proofs of claim” to confirm when

class members flew for the first time). As in these cases, a well-drafted claim form or sworn

affidavit will ensure that only people issued tickets or arrested at Checkpoints (as opposed to near

Checkpoints) can recover damages. There is no manageability issue here.

       Moreover, without the class action mechanism, thousands of Checkpoint and Tinted

Windows class members “likely never will know that defendants violated their clearly established

constitutional rights, and thus never will be able to vindicate those rights.” In re Nassau County

Strip Search Cases, 461 F.3d at 229. A class action is clearly superior.

V.     THE TRAFFIC ENFORCEMENT CLASS SATISFIES RULE 23(b)(2)

       The City does not refute Plaintiffs’ showing that the Traffic Enforcement Class satisfies

every element of Rule 23(a) and b(2), arguing instead that Plaintiffs lack standing and an injunction

would interfere with judicial proceedings. These misguided arguments must fail.

       A.      Plaintiffs Have Standing to Seek Injunctive Relief

       The City relies on inapposite cases to argue that the “likelihood of future injuries are too

speculative to establish standing” (Opp’n at 38), ignoring the heavy weight of precedent in

Plaintiffs’ favor. To obtain injunctive relief, Plaintiffs must demonstrate that a “real and immediate

threat of repeated injury” is “likely, as opposed to merely speculative,” and that the defendant

maintains a policy, practice, or custom that would cause that injury. Stinson, 282 F.R.D. at 381–

82. If even a single named plaintiff has standing, the class action may proceed. Hyland v. Navient

Corp., 48 F.4th 110, 117-18 (2d Cir. 2022).11




11
  The City cites Denney v. Deutsche Bank AG for the proposition that “[N]o class may be certified
that contains members lacking Article III standing.” 443 F.3d 253, 264 (2d Cir. 2006). However,
once “there is a named plaintiff with the requisite standing, there is no requirement that the
members of the class also proffer such evidence.” Hyland, 48 F. 4th at 118 n.1.

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       In analogous police discrimination cases, courts have found that the combination of

repeated past incidents and an official policy or its equivalent rises above the level of speculation,

establishing standing. See, e.g., County of Suffolk, 2021 WL 1255011 at *10 n.39; Ligon, 288

F.R.D. at 81; Stinson, 282 F.R.D. at 382; Nat’l Cong. for Puerto Rican Rts. v. City of New York, 75

F. Supp. 2d 154, 160 (S.D.N.Y. 1999). “The possibility of recurring injury ceases to be speculative

when actual repeated incidents are documented.” Floyd, 283 F.R.D. at 169.

       This case differs from MacNamara, 275 F.R.D. at 140, in which the protester plaintiffs had

only “indeterminate future plans to participate in New York City protests . . . of unspecified date,

duration, or scope.” Here, Plaintiffs have an actual, demonstrated need to continue driving in the

City of Buffalo as part of their daily lives. ECF 202-1–202-9.12 Shain v. Ellison, 356 F.3d 211,

215 (2d Cir. 2004), is even less persuasive. There the plaintiff would likely never again have faced

arrest by the same police agency that subjected him to an unconstitutional strip search. Id. Here,

in contrast, Plaintiffs will continue to drive in Buffalo, routinely exposing themselves to

discriminatory traffic enforcement.

       Plaintiffs unquestionably have standing under the governing rule. Plaintiffs have all

attested to past discriminatory traffic stops, most to more than one instance, see ECF 202-1–202-

9, and have presented abundant evidence of discriminatory intent and that the City is deliberately

indifferent to ongoing racially discriminatory traffic enforcement, causing such practices to

continue. See Opening Br. at 13–21 (cataloguing evidence of animus and deliberate indifference);

ECF 203-2 at 98-107. Moreover, statistically significant racial disparities persisted throughout



12
  Defendants’ objection to the standing of Plaintiffs Redden and Palmer, citing MacNamara, is
baseless. Even those two plaintiffs, who no longer live in Buffalo, have plans to visit Buffalo that
are more concrete than the plaintiffs in MacNamara, as they have already visited since moving
away. See Charles Palmer Dep. 17 (“Sometimes” came to Buffalo to see family); Shaketa Redden
Dep. 31–32 (“I come back at least once or twice a year every year to Buffalo.”).

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2023, the most recent period for which data is available. Wilner Decl. Ex. A. The City’s argument

completely disregards the record of past injuries and continuing policies and practices, including

ongoing racial disparities.

        Nor does O’Shea v. Littleton, 414 U.S. 488, 500 (1974), convince. Before their future

injuries could conceivably have occurred, the O’Shea plaintiffs would have had to experience a

chain of questionable events (be arrested, charged with a crime, and then be subjected to bond

proceedings, sentencing, or trial). Id. at 496. No similar chain of inferences applies here. Because

of the City’s ongoing deliberate indifference, Plaintiffs run the risk of experiencing

unconstitutional traffic enforcement simply “while going about [their] daily li[ves].” See Floyd,

283 F.R.D. at 169–70.13

        In the face of class members’ likelihood of future injury, the City disingenuously argues

that Plaintiffs “can avoid [a traffic] stop by complying with the VTL and Penal Law” (Opp’n at

40).   This is both false and a telling misapprehension of Equal Protection jurisprudence.

Considering the ongoing police discrimination to which the City is deliberately indifferent,

Plaintiffs could easily be stopped despite violating no traffic laws. Plaintiffs have sworn to

multiple instances of BPD officers subjecting them to traffic stops that did not result in any tickets

or in which a court later dismissed their tickets. See e.g., ECF 202-1, 202-3, 202-8, 202-9; see

also McNeil v. City of Buffalo, 2023 WL 2574954, *7 (W.D.N.Y. Feb. 24, 2023), report and

recommendation adopted, 2023 WL 2573379 (W.D.N.Y. Mar. 20, 2023) (alleging wrongful vehicle



13
  Defendants argue that future harm from Checkpoints is speculative because the practice has been
discontinued (p. 38). However, the Manual of Procedures still authorizes the Checkpoints, and
current Commissioner Gramaglia testified that he can restart them at any time. ECF 219-1 at
181:14–17, 182:11–14. Under such circumstances, Plaintiffs’ request for injunctive relief as to
Checkpoints is not moot. See Morrow v. Washington, 277 F.R.D. 172, 199 (E.D. Tex. 2011). But
even if it were, the Checkpoints represent only one aspect of Buffalo’s unconstitutional policing
practices which, as discussed above, are widespread and ongoing.

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stop and search arising out of “a policy and/or custom to target minorities for traffic infractions

and reward officers for writing as many tickets as possible”).

       The City ineptly attempts to distinguish Floyd by claiming that the challenged stops there

“required no suspicion to institute” (Opp’n at 40). However, NYPD policy required reasonable

suspicion to stop and frisk, Floyd, 283 F.R.D. at 163, just as officers must have reasonable

suspicion or probable cause to initiate a traffic stop. United States v. Gomez, 877 F.3d 76, 86 (2d

Cir. 2017). The City’s assertion that Plaintiffs can avoid traffic stops by obeying the law but the

plaintiffs in Floyd could not by doing the same is absurd. As for the City’s attempts to distinguish

Floyd by arguing that BPD officers do not engage in racial discrimination—these are nothing more

than “free-ranging merits inquiries” that this Court has “no license” to resolve at the class

certification stage. Amgen, 568 U.S. at 465–66.14

       B.      The City’s Arguments Against Injunctive Relief Are Baseless

       Finally, the City raises the specious argument, relying on O’Shea, that Plaintiffs’ requested

relief would “intrude into municipal and state proceedings” (Opp’n at 41). This argument fails

because Plaintiffs do not seek an injunction directed at judicial proceedings of any kind.

       If the City’s argument were correct, all federally imposed relief against all state and local

agencies would be forbidden as “micromanaging” (Opp’n at 42). However, that is not the case;

courts routinely certify classes seeking the kinds of relief Plaintiffs have requested. E.g. County

of Suffolk, 2021 WL 1255011, *17 (E.D.N.Y. Mar. 12, 2021) (requested relief included collecting

and analyzing traffic stop data, appointing an independent monitor, establishing a Citizen



14
   The same is true of the City’s nonsensical assertion that Plaintiffs’ expert “ignores the racial
composition of Buffalo’s neighborhoods” (p. 12), when fully half of Dr. Bjerk’s report is precisely
about that racial composition. Whatever the City may or may not be trying to say, it is not for
resolution on this motion, since the Bjerk report is all about aggregate behavior of the BPD and
raises no individual issues at all.

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Complaint Review Board, and implementing a comprehensive training program); Stinson, 282

F.R.D. at 363 (requested relief included “immediate remedial training” for “all current members

of the NYPD” and a comprehensive monitoring system); Floyd, 283 F.R.D. at 177 (requesting “a

broad-based structural injunction”);15 Davis 296 F.R.D., at 167 (requesting “a uniform injunctive

remedy involving reforms to the City’s policies and practices”); Ligon, 288 F.R.D. at 76

(requesting “an order requiring the NYPD to create and implement new policies, training

programs, and monitoring and supervisory procedures that specifically address the problem of

unconstitutional trespass stops”); Casale v. Kelly, 257 F.R.D. 396, 404 (S.D.N.Y. 2009) (requesting

“city-wide remedial policies aimed at eliminating the enforcement” of anti-loitering laws and

expungement of related criminal records).

       As the court explained in Floyd:

       [I]f the [BPD] is engaging in a widespread practice of unlawful stops, then an injunction
       seeking to curb that practice is not a “judicial intrusion into a social institution” but a
       vindication of the Constitution and an exercise of the courts’ most important function:
       protecting individual rights in the face of the government’s malfeasance.

283 F.R.D. at 178.

       This Court should certify the Traffic Enforcement Class.

                                          CONCLUSION

       This Court should grant Plaintiffs’ motion in all respects.




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  For a description of the comprehensive injunctive relief ultimately ordered, see Floyd v. City of
New York, 959 F. Supp. 2d 668 (S.D.N.Y. 2013).

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Dated: August 9, 2024                          Respectfully submitted,



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                                                             APPENDIX A


                                                   < -------------------------------------------------- CLAIMS ---------------------------------------------- >
                                                     Fourth Amendment                Equal Protection/Title VI                      Due Process
          Checkpoint Class: All individu-               General Damages               General Damages                       General Damages
          als who received a ticket or were             Punitive Damages              Compensatory Damages                  Compensatory Damages
          arrested at a BPD “traffic safety”            Fees, costs, and              Equitable Disgorgement                Equitable Disgorgement
          vehicle checkpoint on or after                 other appropriate             Punitive Damages                      Punitive Damages
          June 28, 2015.                                 relief                        Fees, costs, and other ap-            Fees, costs, and other ap-
                                                                                        propriate relief                       propriate relief


          Tinted Windows Class: All                           N/A                      General Damages                       General Damages
CLASSES




          Black and/or Latino individuals                                              Punitive Damages                      Compensatory Damages
          who received multiple tinted win-                                            Fees, costs, and other ap-            Equitable Disgorgement
          dows tickets from the BPD in a                                                propriate relief                      Punitive Damages
          single traffic stop on or after June                                                                                Fees, costs, and other ap-
          28, 2015.                                                                                                            propriate relief


          Traffic Enforcement Class: All                Injunctive Relief             Injunctive Relief                     Injunctive Relief
          Black and/or Latino individuals               Fees, costs, and              Fees, costs, and other ap-            Fees, costs, and other ap-
          who have been or will be sub-                  other appropriate              propriate relief                       propriate relief
          jected to traffic stops, traffic tick-         relief
          ets, and “traffic safety” vehicle
          checkpoints by the BPD
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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 9, 2024, the foregoing document and accompanying

motion papers were filed with the Clerk of the Court and served in accordance with the Federal

Rules of Civil Procedure, and/or the Western District’s Local Rules, and/or the Western

District’s Case Filing Rules & Instructions upon all counsel registered through the ECF System.


                                                   /s/ Claudia Wilner
